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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


  Charles Hines, individually and on behalf of      Case No. 1:21-CV-03597
  all others similarly situated,

                       Plaintiff,

  vs.                                                   UNOPPOSED MOTION TO
                                                          EXTEND DOCUMENT
  Proctor.io Incorporated,                              PRODUCTION DEADLINE

                       Defendant.


        The Court’s November 15, 2021, minute order directed Defendant Proctor.io

Incorporated (“Proctorio”) to complete its rolling document production by December 8,

2021. (Dkt. 28) Procotio moves the Court to extend this deadline to January 3, 2022. Good

cause exists for moving this deadline, in particular:

        1.    The parties generally agree that Proctorio’s source code could be dispositive

              in this case. Proctorio has already produced what it considers to be the two

              key components of its source code, and the parties have met and conferred

              and are working cooperatively regarding the production of additional

              components of the code. Due to the sensitive nature of the source code, the

              parties have agreed to explore non-traditional production methods—e.g., a

              third-party software escrow service—which will take additional time to

              coordinate.

        2.    Proctorio plans to substantially complete production of all “non-email”

              documents by the original deadline of December 8, 2021.
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      3.     Proctorio has collected more than a million email documents from several

             custodians and is in the process of narrowing and reviewing these documents

             for production, but due to the Thanksgiving holiday and the volume of

             documents being reviewed, completing production by December 8, 2021, is

             not feasible.

      4.     This is the first time Proctorio has asked to move its document production

             deadline, and the extension will not affect the overall fact discovery deadline.

      5.     The parties met and conferred regarding this request, and Plaintiff Charles

             Hines (through counsel) indicated that he does not oppose extending

             Proctorio’s deadline to January 3, 2022.

      Accordingly, Proctorio respectfully requests that the Court grant its unopposed

motion to extend the deadline to complete rolling document production to January 3, 2022

(as well as the corresponding deadlines for any motions to compel).

Dated: December 3, 2021                          Respectfully submitted,

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